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                  AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

        I, Arthur Paul Roche, Special Agent of the Department of Justice, Federal Bureau of

Investigation (FBI), being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

        1.      I am currently employed as a Special Agent with the Federal Bureau of Investigation,

hereinafter “FBI,” and have been since April 25, 1999. As a federal agent, I am authorized to

investigate violations of United States laws. I am currently assigned to the Mobile Division Violent

Crimes Squad. I am authorized to investigate violations of Federal Law. Prior to my employment with

the FBI, I was a U.S. Army Officer in the Military Police Corps for five years.

        2.      I have personally participated in the investigation set forth below. I am familiar with

the facts and circumstances of the investigation through my personal participation; from discussions

with other law enforcement officers; from my discussions with witnesses involved in the

investigation; and from my review of records and reports relating to the investigation. Since this

affidavit is being submitted for the limited purpose of securing a criminal complaint, I have not

included details of every aspect of the investigation.

        3.      This Affidavit is submitted in support of a Criminal Complaint against TIA DEYON

PUGH, charging her with violating Title 18, United States Code, Section 231(a)(3). The elements

of this offense are:

             a. A civil disorder existed at the time of the alleged violation;

             b. Such civil disorder obstructed, delayed, or adversely affected commerce, or the
                movement of any article or commodity in commerce, in any way or to any degree;

             c. One or more law enforcement officers were engaged in the lawful performance of
                their official duties incident to and during the commission of such civil disorder;

             d. The defendant committed an act, or attempted to do so, for the intended purpose of
                obstructing, impeding, or interfering, either by herself or with someone else, in a
                violent manner such law enforcement officers; and

             e. Such act, or attempt to act was done willfully and knowingly.
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                            DETAILS OF THE INVESTIGATION

       4.      Interstate 10 (I-10) is an interstate highway that connects the east and west coasts of

the United States. Mobile, Alabama is one of the many cities along this highway. I-10 is a major

route used in the transportation of goods and commodities in interstate commerce.

       5.      On May 25, 2020, George Floyd died while in the custody of the Minneapolis Police

Department. The nature and circumstances of Mr. Floyd’s arrest, subsequent death, and the actions

of the Minneapolis Police Department came under intense public scrutiny. Almost immediately

following Mr. Floyd’s death, public protests began in Minneapolis and expanded throughout the

United States, including to Mobile.

       6.      On May 31, 2020, a planned protest related to the death of Mr. Floyd occurred in

downtown Mobile. During the course of this protest, some individuals left the primary protest route

and gathered at the intersection of Government Street and Water Street, which is the location of an

on-ramp leading to an elevated portion of I-10 in downtown Mobile. Eventually, more than 100

protesters occupied the Water Street on-ramp. Mobile Police Department (MPD) Officers were

deployed to the scene to prevent the protesters from walking up the on-ramp and blocking I-10.

This was necessary, because if protesters had succeeded in walking onto the elevated portion of I-

10 via the Water Street on-ramp, the westbound traffic would have been blocked. This would have

created an extremely dangerous situation for both the protesters and the motorists on I-10.

       7.      While multiple MPD officers were lawfully engaged in their duties to keep protesters

from blocking I-10, a then-unidentified female approached a marked and occupied MPD vehicle

and used a small bat to smash the passenger side window. Thereafter, the female ran back into the

crowd of protesters still congregated on the Water Street on-ramp. It appeared to MPD Officers at

the scene that the female was attempting to provoke the protesters into aggressive and violent acts.



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       8.      At the time of the attack, the MPD vehicle was being used to block the on-ramp to I-

10 along with MPD Officers who had formed a barrier line. MPD Officer Justin Lewis was inside

the MPD vehicle when the attack occurred. The entire attack was captured on video by a WKRG

news crew present at the scene.

       9.      By smashing the window of the MPD vehicle the then-unidentified female caused a

chaotic situation to become even more frantic. Her actions impeded the duties of the MPD Officers

by causing them to have to focus on that section of the barrier line fearing that the damage to the

vehicle was a prelude to an attack on Officers. This diverted MPD resources from other parts of the

barrier line that were stopping protesters from walking up the on-ramp and blocking I-10.

       10.     Despite the fact that protesters did not succeed in walking onto I-10, this civil

disorder still affected interstate commerce. Specifically, the protesters’ presence on the Water Street

on-ramp forced the MPD to close both the on-ramp to Westbound I-10 from Water Street and Exit

26B Eastbound for the safety of the protesters and the motorists. This closure forced commercial

vehicles transporting hazardous materials to take a 19.5 mile detour, because Exit 26B, which is the

permanent hazardous material route around the George C. Wallace Tunnel on I-10, was closed. See

Attachment A: Letter from Alabama Department of Transportation.

       11.     Following the dispersal of the protesters, MPD released a still photo of the female

subject taken from news footage of the protest, and asked for the public’s help in identifying her See

Attachment B: Photograph.

       12.     On June 2, 2020, the female was identified as TIA DEYON PUGH. MPD Officers

located PUGH and her fiancée — whose identity is known to this Affiant, and who is identified

herein as “W.B.” — at an apartment complex in Mobile, Alabama.

       13.     Officers initially made contact with W.B. at the apartment complex. W.B. told the

Officers that PUGH was his ex-girlfriend and that she was not at the apartment. Rather, W.B. stated


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that PUGH had moved to Foley, Alabama. The MPD Officers stayed near the apartment complex

and observed W.B. go in and out of the apartment. W.B. then got into a vehicle and began to drive

away. At the same time MPD Officers observed PUGH running along the side the apartment

building and began to chase her. After a short foot pursuit PUGH surrendered to the Officers.

Officers also stopped W.B. who was in his vehicle still at the apartment complex area. PUGH was

charged with the state offenses of Inciting a Riot and Criminal Mischief, Third Degree. W.B. was

charged with the state offense of Hindering Prosecution.

       14.     As PUGH was being taken to an MPD vehicle for transport to the Mobile Metro Jail

she told reporters that “Genocide is happening. We’re being murdered in the street for absolutely

no reason and unarmed. We’re being disarmed when we arm ourselves.”

       15.     Following their arrests, PUGH and W.B. were transported to MPD Headquarters

where they were each advised of their Miranda rights. Both waived these rights and were

interviewed.

       16.     PUGH stated that she and W.B. went to the May 31, 2020 protest with a few other

people. According to PUGH, she and W.B. had made a plan that if a riot or any violence started

that one of them was to do something to draw attention to themselves so that the others could escape

before all meeting back at Mardi Gras Square. PUGH admitted that she broke the MPD vehicle’s

window with a bat she brought to the protest.

       17.     W.B. initially denied being present at the protest. When told by interviewers that he

was on video there and that PUGH had made a statement, he admitted that he was at the protest with

PUGH. W.B. stated that he also brought a bat to the protest. W.B. did not confirm the plan that

PUGH had described in her statement, but did confirm that they were supposed to meet at Mardi

Gras Park if separated. According to W.B., PUGH was not supposed to break the MPD vehicle’s




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 window, and he claimed to be surprised when she did so. W.B. claimed he stayed on the Water

 Street on-ramp to watch PUGH and to ensure that no one assaulted her.

        18.     Based upon all the information set forth in this affidavit, the Affiant respectfully

 submits that there is probable cause to believe that PUGH violated Title 18, United States Code,

 Section 231(a)(3). In consideration of the foregoing, the Affiant respectfully requests that this Court

 issue a criminal complaint charging TIA DEYON PUGH with this offense.



                                                                                 Respectfully submitted,


                                                                                 /s Arthur Paul Roche
                                                                                 Arthur Paul Roche
                                                                                 Special Agent
                                                                                 Federal Bureau of Investigation



  THE ABOVE AGENT ATTESTED
  TO THIS AFFIDAVIT PURSUANT TO
  FED. R. CRIM. P. 4.1(b)(2)(B) THIS
5x4th DAY OF JUNE, 2020.


                             Digitally signed by P. Bradley Murray U.S. Magistrate

 P. Bradley Murray U.S.
                             Judge
                             DN: cn=P. Bradley Murray U.S. Magistrate Judge,
                             o=Southern District of Alabama, ou=United States
 ____________________________________
 Magistrate Judge            District Court, email=efile_murray@alsd.uscourts.gov,
                             c=US
 HON. P. BRADLEY MURRAY      Date: 2020.06.05 13:46:24 -06'00'

 UNITED STATES MAGISTRATE JUDGE




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                                  ATTACHMENT A



                                       ALABAMA
                       DEPARTMENT OF TRANSPORTATION


                                    SOUTHWEST REGION

                                OFFICE OF REGION ENGINEER

                             1701 I-65 WEST SERVICE ROAD NORTH

                                MOBILE, ALABAMA 36618-1109

                                    TELEPHONE: (251) 470-8200

                                       FAX (251) 473-3624

    Kay Ivey                                                                   John R. Cooper

  GOVERNOR                                                                TRANSPORTATION DIRECTOR




On Sunday, May 31, 2020, there was a protest in downtown Mobile. Due to civil unrest, the
Mobile Police Department closed both the on ramp to Westbound I-10 from Water St. and Exit
26B Eastbound to keep the traveling public and pedestrians safe.

Due to Exit 26 B being the permanent hazardous material route around the George C. Wallace
Tunnel on I-10, vehicles transporting hazardous materials Eastbound were rerouted at I-10 Exit 20
to I-65 North, I-165 South, to US 90 East, back to I-10 E at Exit 30.

The length of this detour was 19.5 miles.



Daniel E. Driskell, P.E.

TSM&O Engineer

Southwest Region




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                                 ATTACHMENT B




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